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                                                                          Pg 1 of 51
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ________________       District
      Southern District of New  York of ________

     Case number (If known): _________________________ Chapter you are filing under:
                                                                Chapter 7
                                                                Chapter 11
                                                                Chapter 12
                                                                Chapter 13                                                Check if this is an
                                                                                                                              amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                          12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:        Identify Yourself

                                         About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):
1.     Your full name
       Write the name that is on your
       government-issued picture
                                         Robert
                                         __________________________________________________          __________________________________________________
                                         First name                                                  First name
       identification (for example,
       your driver’s license or          W.
                                         __________________________________________________          __________________________________________________
       passport).                        Middle name                                                 Middle name

       Bring your picture                Vega
                                         __________________________________________________          __________________________________________________
       identification to your meeting    Last name                                                   Last name
       with the trustee.                 ___________________________                                 ___________________________
                                         Suffix (Sr., Jr., II, III)                                  Suffix (Sr., Jr., II, III)




2.     All other names you               __________________________________________________          __________________________________________________
       have used in the last 8           First name                                                  First name
       years
                                         __________________________________________________          __________________________________________________
       Include your married or           Middle name                                                 Middle name
       maiden names.                     __________________________________________________          __________________________________________________
                                         Last name                                                   Last name

                                         __________________________________________________          __________________________________________________
                                         First name                                                  First name

                                         __________________________________________________          __________________________________________________
                                         Middle name                                                 Middle name
                                         __________________________________________________          __________________________________________________
                                         Last name                                                   Last name




3.     Only the last 4 digits of
       your Social Security              xxx       – xx – ____
                                                            7 ____
                                                                6 ____
                                                                   9 ____
                                                                       0                            xxx    – xx – ____ ____ ____ ____
       number or federal                 OR                                                         OR
       Individual Taxpayer
       Identification number             9 xx – xx – ____ ____ ____ ____                            9 xx – xx – ____ ____ ____ ____
       (ITIN)

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Debtor 1        Robert  W. Vega
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                          I have not used any business names or EINs.                 I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               _________________________________________________            _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                           753 Mile Square Road
                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________


                                            Yonkers                         NY      10704
                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                            Westchester
                                           _________________________________________________            _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box

                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for
      bankruptcy                            Over the last 180 days before filing this petition,         Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any             I have lived in this district longer than in any
                                              other district.                                              other district.

                                            I have another reason. Explain.                             I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________



     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
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Debtor 1        Robert  W. Vega
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                            Chapter 7
                                            Chapter 11
                                            Chapter 12
                                            Chapter 13

8.    How you will pay the fee              I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                    No
      bankruptcy within the
      last 8 years?                         Yes.    District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                    No
      cases pending or being
      filed by a spouse who is              Yes.    Debtor _________________________________________________ Relationship to you      _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                      No.     Go to line 12.
      residence?                            Yes.    Has your landlord obtained an eviction judgment against you?

                                                        No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




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Debtor 1         Robert W. Vega
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                  No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                 No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                     No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


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Debtor 1        Robert W. Vega
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
      cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




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Debtor 1        Robert W. Vega
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                            No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                     No
      administrative expenses
      are paid that funds will be                      Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                            / s / Robert W. Vega/
                                              ______________________________________________               _____________________________
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                                          01/30/2018
                                              Executed on _________________                                    Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


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Debtor 1     Robert W. Vega
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        _________________________________
                                         / s / Jeffrey Benjamin /                                           Date           _________________
                                                                                                                           01/30/2018
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                           Jeffrey Benjamin
                                           _________________________________________________________________________________________________
                                           Printed name

                                           Kupillas Unger & Benjamin, L.L.P.
                                           _________________________________________________________________________________________________
                                           Firm name

                                           1 Linden Place, Suite 410-A
                                           _________________________________________________________________________________________________
                                           Number Street

                                           _________________________________________________________________________________________________

                                           Great Neck
                                           ______________________________________________________ NY
                                                                                                  ____________ 11021
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                         (516) 213-4493
                                           Contact phone _____________________________________             Email address   jbenjamin@nyfraudlaw.com
                                                                                                                            ______________________________




                                           JB-2475
                                           ______________________________________________________ NY
                                                                                                  ____________
                                           Bar number                                             State




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 Fill in this information to identify your case:

 Debtor 1
                    Robert W. Vega
                   __________________________________________________________________
                     First Name                      Middle Name                      Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                      Last Name


                                          Southern District of New York
 United States Bankruptcy Court for the: ______________________      District of __________
                                                                                                  (State)
 Case number         ___________________________________________                                                                                                             Check if this is an
                     (If known)                                                                                                                                                amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                               175,000.00
                                                                                                                                                                            $ ________________
    1a. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................


   1b. Copy line 62, Total personal property, from Schedule A/B ...............................................................................................                 16,358.06
                                                                                                                                                                            $ ________________


   1c. Copy line 63, Total of all property on Schedule A/B .........................................................................................................
                                                                                                                                                                               191,358.06
                                                                                                                                                                            $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                               722,113.40
                                                                                                                                                                            $ ________________
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                25,541.41
                                                                                                                                                                            $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                        +        5,583.31
                                                                                                                                                                            $ ________________

                                                                                                                                                                              753,238.12
                                                                                                                                       Your total liabilities               $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                                8,593.00
                                                                                                                                                                            $ ________________
   Copy your combined monthly income from line 12 of Schedule I ..........................................................................................

5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                               8,755.00
                                                                                                                                                                            $ ________________
   Copy your monthly expenses from line 22c of Schedule J ....................................................................................................




                                                                                                                                                                                      10
Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information
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Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes

7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                   8,140.14
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                               $_____________________


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                     $_____________________



    9d. Student loans. (Copy line 6f.)                                                                      $_____________________


    9e. Obligations arising out of a separation agreement or divorce that you did not report as             $_____________________
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                                  0.00
                                                                                                            $_____________________




                                                                                                                                                 11
   Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information
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                                                                               Pg 10 of 51
Fill in this information to identify your case and this filing:


Debtor 1           Robert W. Vega
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


United States Bankruptcy Court for the: __________
                                        Southern District of of
                                                    District New   York
                                                                ___________

Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                   12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
               408 Warburton Avenue                                  Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.1. _________________________________________
           Street address, if available, or other description
                                                                     Duplex or multi-unit building
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                            350,000
                                                                                                                   $________________          50% of equity
                                                                                                                                            $_______________
              Yonkers, NY 10701                                      Investment property
             _________________________________________
             City                    State   ZIP Code
                                                                     Timeshare                                    Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                     Other __________________________________
                                                                                                                   the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   Tenancy by entirety
                                                                                                                   __________________________________________
               Westchester                                       
                                                                  Debtor 1 only
             _________________________________________
             County                                              
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                                                                       (see instructions)
                                                                 
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


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               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                  the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                          Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                $________________         $_________________

           ________________________________________
                                                                    Investment property
           City                    State   ZIP Code                 Timeshare                                           Describe the nature of your ownership
                                                                                                                         interest (such as fee simple, tenancy by
                                                                    Other __________________________________            the entireties, or a life estate), if known.
                                                                                                                        __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                             (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  175,000.00
                                                                                                                                                   $_________________
   you have attached for Part 1. Write that number here. ......................................................................................




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
    Yes

   3.1.    Make:                       Toyota
                                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put

           Model:                      Camry
                                      ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                       2000                      
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                156000                                                                                   entire property?          portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                                                                                                        1,200.00
                                                                  Check if this is community property (see              $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:

   3.2.    Make:                       Jeep
                                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put

           Model:                      Cherokee
                                      ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                        1995                     
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only
                                                                                                                         Current value of the      Current value of the
                                160000                                                                                   entire property?          portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                                                                                                          1,000.00
                                                                  Check if this is community property (see              $________________         $________________
                                                                     instructions)




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                  First Name         Middle Name                Last Name




           Make:                             Jeep
                                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.3.

           Model:                           Grand Cherokee
                                            ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                             2014                           
                                                                             Debtor 2 only
           Year:                            ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                45000                                                                                                                 entire property?                portion you own?
           Approximate mileage: ____________                                
                                                                             At least one of the debtors and another
           Other information:
                                                                                                                                                         18,000.00                           9,000.00
             Co-Owned with daughter who                                       Check if this is community property (see                               $________________               $________________
                                                                                 instructions)
             makes all payments ($641/mo).

           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.4.

           Model:                           ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
           Approximate mileage: ____________                                
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   No
    Yes

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.1.

           Model: ____________________                                      
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
           Other information:                                               
                                                                             At least one of the debtors and another                                  entire property?                portion you own?

                                                                             Check if this is community property (see                                $________________               $________________
                                                                                 instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.2.

           Model: ____________________                                      
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________                                                                                                                  Current value of the            Current value of the
                                                                            
                                                                             Debtor 1 and Debtor 2 only
                                                                                                                                                      entire property?                portion you own?
           Other information:                                               
                                                                             At least one of the debtors and another

                                                                                                                                                      $________________               $________________
                                                                             Check if this is community property (see
                                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                         11,200.00
                                                                                                                                                                                     $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................ 




Official Form 106A/B                                                         Schedule A/B: Property                                                                                         14
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                    First Name           Middle Name                  Last Name




Part 3:       Describe Your Personal and Household Items

                                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                              portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
       Yes. Describe. ........          Household furnishings                                                                                                                                             2,000.00
                                                                                                                                                                                                $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
       Yes. Describe. .........         Television, computer                                                                                                                                                300.00
                                                                                                                                                                                                $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    No
    Yes. Describe. .........                                                                                                                                                                   $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
       No
       Yes. Describe. .........                                                                                                                                                                $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes. Describe. ..........                                                                                                                                                                  $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
       Yes. Describe. ..........        Clothing                                                                                                                                                            800.00
                                                                                                                                                                                                $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
       Yes. Describe. ..........                                                                                                                                                               $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

       No
       Yes. Describe. ..........                                                                                                                                                               $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

       No
       Yes. Give specific
                                                                                                                                                                                                $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                               3,100.00
                                                                                                                                                                                                $______________________
   for Part 3. Write that number here .................................................................................................................................................... 



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 15
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                    First Name             Middle Name                      Last Name




Part 4:      Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                     Current value of the
                                                                                                                                                                                                                portion you own?
                                                                                                                                                                                                                Do not deduct secured claims
                                                                                                                                                                                                                or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     No
     Yes ................................................................................................................................................................    Cash: .......................                940.00
                                                                                                                                                                                                                 $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes .....................                                                               Institution name:


                                            17.1. Checking account:                            New York Commercial Bank (#xxxx8723)
                                                                                               _________________________________________________________                                                                     844.09
                                                                                                                                                                                                                 $__________________

                                            17.2. Checking account:                            Chase (#xxxx8620)
                                                                                               _________________________________________________________                                                                     573.97
                                                                                                                                                                                                                 $__________________

                                            17.3. Savings account:                             _________________________________________________________                                                         $__________________

                                            17.4. Savings account:                             _________________________________________________________                                                         $__________________

                                            17.5. Certificates of deposit:                     _________________________________________________________                                                         $__________________

                                            17.6. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.7. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.8. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.9. Other financial account:                     _________________________________________________________                                                         $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes .................                Institution or issuer name:

                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

    No                                     Name of entity:                                                                                                                     % of ownership:
   Yes. Give specific                     _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________
       information about
       them.........................        _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________
                                            _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                          16
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you

      No
      Yes. Give specific information                                                                                        Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                    State:                $_________________
            and the tax years. .......................
                                                                                                                             Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information. .............
                                                                                                                            Alimony:                   $________________
                                                                                                                            Maintenance:               $________________
                                                                                                                            Support:                   $________________
                                                                                                                            Divorce settlement:        $________________
                                                                                                                            Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information. ..............
                                                                                                                                                       $______________________



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20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

 No
 Yes. Give specific                   Issuer name:
       information about
       them.......................      ______________________________________________________________________________________               $__________________
                                        ______________________________________________________________________________________
                                                                                                                                             $__________________
                                        ______________________________________________________________________________________
                                                                                                                                             $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each
       account separately.              Type of account:          Institution name:

                                        401(k) or similar plan:   ___________________________________________________________________        $__________________

                                        Pension plan:             ___________________________________________________________________        $__________________

                                        IRA:                      ___________________________________________________________________        $__________________

                                        Retirement account:       ___________________________________________________________________        $__________________

                                        Keogh:                    ___________________________________________________________________        $__________________

                                        Additional account:       ___________________________________________________________________        $__________________

                                        Additional account:       ___________________________________________________________________        $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

      No
      Yes ..........................                         Institution name or individual:

                                        Electric:             ______________________________________________________________________         $___________________
                                        Gas:                  ______________________________________________________________________         $___________________
                                        Heating oil:          ______________________________________________________________________
                                                                                                                                             $___________________
                                        Security deposit on rental unit: _____________________________________________________________
                                                                                                                                             $___________________
                                        Prepaid rent:         ______________________________________________________________________
                                                                                                                                             $___________________
                                        Telephone:            ______________________________________________________________________
                                                                                                                                             $___________________
                                        Water:                ______________________________________________________________________
                                                                                                                                             $___________________
                                        Rented furniture:     ______________________________________________________________________
                                                                                                                                             $___________________
                                        Other:                ______________________________________________________________________
                                                                                                                                             $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

      No
      Yes ..........................   Issuer name and description:
                                        _______________________________________________________________________________________              $__________________
                                        _______________________________________________________________________________________              $__________________
                                        _______________________________________________________________________________________              $__________________


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31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company             Company name:                                                                             Beneficiary:                                       Surrender or refund value:
             of each policy and list its value. ...
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
       No
       Yes. Give specific information. .............
                                                                                                                                                                                                 $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                 $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
       No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                 $_____________________




35. Any financial assets you did not already list

       No
       Yes. Give specific information............
                                                                                                                                                                                                 $_____________________


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here .................................................................................................................................................... 
                                                                                                                                                                                                             2,358.06
                                                                                                                                                                                                 $_____________________




Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

       No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                               Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

38. Accounts receivable or commissions you already earned

      No
       Yes. Describe .......
                                                                                                                                                                                               $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
       Yes. Describe .......                                                                                                                                                                  $_____________________



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 19
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Debtor 1          Robert      W. Vega                                Pg 18 of 51
                   _______________________________________________________                                                                 Case number (if known)_____________________________________
                   First Name     Middle Name    Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe .......
                                                                                                                                                                                               $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                  $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                      % of ownership:
                                         ______________________________________________________________________                                                    ________%                   $_____________________
                                         ______________________________________________________________________                                                    ________%                   $_____________________
                                         ______________________________________________________________________                                                    ________%                   $_____________________


43. Customer lists, mailing lists, or other compilations
       No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe. .......
                                                                                                                                                                                                $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                            $____________________
        information .........
                                         ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________

                                         ______________________________________________________________________________________                                                                 $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                                 0.00
                                                                                                                                                                                                $____________________
   for Part 5. Write that number here .................................................................................................................................................... 




Part 6:         Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
    No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ..........................

                                                                                                                                                                                                 $___________________



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 20
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                      _______________________________________________________                                       of 51    Case number (if known)_____________________________________
                       First Name           Middle Name                   Last Name




48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                      $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ..........................
                                                                                                                                                                                                          $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ..........................
                                                                                                                                                                                                          $___________________

51. Any farm- and commercial fishing-related property you did not already list
         No
          Yes. Give specific
           information. ............                                                                                                                                                                      $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                       0.00
                                                                                                                                                                                                          $___________________
     for Part 6. Write that number here .................................................................................................................................................... 



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

          No
                                                                                                                                                                                                           $________________
          Yes. Give specific
           information. ............                                                                                                                                                                        $________________
                                                                                                                                                                                                            $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................                                                                 0.00
                                                                                                                                                                                                            $________________




Part 8:            List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ..............................................................................................................................................................       175,000.00
                                                                                                                                                                                                          $________________

56. Part 2: Total vehicles, line 5
                                                                                                                       10,900.00
                                                                                                                  $________________

57. Part 3: Total personal and household items, line 15                                                                  3,100.00
                                                                                                                  $________________

58. Part 4: Total financial assets, line 36                                                                              2,358.06
                                                                                                                  $________________

59. Part 5: Total business-related property, line 45                                                                         0.00
                                                                                                                  $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                     $________________
                                                                                                                             0.00
61. Part 7: Total other property not listed, line 54                                                          + $________________
                                                                                                                           0.00

62. Total personal property. Add lines 56 through 61. ....................                                             16,358.06 Copy personal property total 
                                                                                                                  $________________                                                                           16,358.06
                                                                                                                                                                                                         + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................                                                  191,358.06
                                                                                                                                                                                                          $_________________



 Official Form 106A/B                                                                     Schedule A/B: Property                                                                                                   21
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                                                                              Pg 20 of 51
 Fill in this information to identify your case:

 Debtor 1           Robert W. Vega
                   __________________________________________________________________
                     First Name                 Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                 Middle Name               Last Name


 United States Bankruptcy Court for the: ______________________     District of __________
                                          Southern District of New York
                                                                                       (State)
 Case number
  (If known)
                     ___________________________________________                                                                                 Check if this is an
                                                                                                                                                    amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.                   11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on          Current value of the         Amount of the exemption you claim         Specific laws that allow exemption
       Schedule A/B that lists this property                  portion you own
                                                              Copy the value from          Check only one box for each exemption.
                                                              Schedule A/B

      Brief                       Household Furnishings           2,000.00                                                           ____________________________
      description:
                             _________________________        $________________             $ ____________                          ____________________________
      Line from                                                                             100% of fair market value, up to        ____________________________
                     6
      Schedule A/B: ______                                                                       any applicable statutory limit     ____________________________


      Brief                   Television/Computer                 300.00                                                             ____________________________
      description:
                             _________________________        $________________             $ ____________                          ____________________________
      Line from                                                                             100% of fair market value, up to        ____________________________
                    ______
                    7
                                                                                                 any applicable statutory limit      ____________________________
      Schedule A/B:

      Brief                   Clothing                              800.00                                                           ____________________________
      description:
                             _________________________        $________________             $ ____________                          ____________________________
      Line from                                                                             100% of fair market value, up to        ____________________________
      Schedule A/B: ______
                    11                                                                           any applicable statutory limit      ____________________________


 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                                 23
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Debtor 1
                Robert W. Vega
               _______________________________________________________   Pg 21 of 51   Case number (if known)_____________________________________
               First Name        Middle Name      Last Name




 Part 2:       Additional Page

         description of the property and line
      Brief                                               Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
     No
      on Schedule A/B that lists this property            portion you own
                                                         Copy the value from    Check only one box for each exemption
     Yes. Identify the property.                          Schedule A/B

     Brief                                                                                                               ____________________________
     description:
                            _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                  100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                  any applicable statutory limit      ____________________________

     Brief                                                                                                               ____________________________
     description:
                            _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                    100% of fair market value, up to      ____________________________
     Schedule A/B: ______                                                           any applicable statutory limit       ____________________________


     Brief                                                                                                               ____________________________
     description:
                            _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                    100% of fair market value, up to      ____________________________
                   ______                                                           any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                               ____________________________
     description:
                            _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                  100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                  any applicable statutory limit      ____________________________

     Brief                                                                                                               ____________________________
     description:
                            _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                    100% of fair market value, up to      ____________________________
     Schedule A/B: ______                                                           any applicable statutory limit       ____________________________


     Brief                                                                                                               ____________________________
     description:
                            _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                    100% of fair market value, up to      ____________________________
                   ______                                                           any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                               ____________________________
     description:
                            _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                  100% of fair market value, up to      ____________________________
                                                                                    any applicable statutory limit      ____________________________
     Schedule A/B:
     Brief                                                                                                               ____________________________
     description:
                            _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                    100% of fair market value, up to      ____________________________
     Schedule A/B: ______                                                           any applicable statutory limit       ____________________________


     Brief                                                                                                               ____________________________
     description:
                            _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                    100% of fair market value, up to      ____________________________
                   ______                                                           any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                               ____________________________
     description:
                            _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                  100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                  any applicable statutory limit      ____________________________

     Brief                                                                                                               ____________________________
     description:
                            _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                    100% of fair market value, up to      ____________________________
                                                                                                                         ____________________________
     Schedule A/B: ______                                                           any applicable statutory limit


     Brief                                                                                                               ____________________________
     description:
                            _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                    100% of fair market value, up to      ____________________________
                   ______                                                           any applicable statutory limit       ____________________________
     Schedule A/B:


  Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                       24
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Fill in this information to identify your case:

 Debtor 1           Robert W. Vega
                    __________________________________________________________________
                     First Name                   Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                    Last Name


                                         Southern District
 United States Bankruptcy Court for the: __________        of of
                                                     District New   York
                                                                 __________

 Case number         ___________________________________________
 (If known)                                                                                                                                                 Check if this is an
                                                                                                                                                               amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                             Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                      Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                  Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                           value of collateral.   claim                 If any

2.1                                                                                                                            690,113.40         350,000.00 $____________
       Nationstar Mortgage
      ______________________________________
                                                           Describe the property that secures the claim:                     $_________________ $________________
      Creditor’s Name
                                                           408 Warburton Ave., Yonkers, NY 10701
       8950 Cypress Waters Blvd.
      ______________________________________
      Number            Street

       Coppell, TX 75019                                   As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                 Contingent
      ______________________________________                     Unliquidated
      City                          State   ZIP Code             Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                            An agreement you made (such as mortgage or secured
       Debtor 2 only                                             car loan)
       Debtor 1 and Debtor 2 only                               Statutory lien (such as tax lien, mechanic’s lien)
  
  x     At least one of the debtors and another                  Judgment lien from a lawsuit
                                                                 Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
                           03/02/2010
  Date debt was incurred ____________                                                       0 ___
                                                           Last 4 digits of account number ___ 3 5___9 ___
2.2                                                                                                                              33,000.00         18,000.00
       Ally                                                Describe the property that secures the claim:                     $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

       P.O. Box 380902
      ______________________________________
                                                                2014 Grand Cherokee
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
       Bloomington, MN 55438-0902
      ______________________________________
                                                                 Contingent
      ______________________________________                     Unliquidated
      City                          State   ZIP Code             Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                            An agreement you made (such as mortgage or secured
       Debtor 2 only                                             car loan)
       Debtor 1 and Debtor 2 only                               Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                  Judgment lien from a lawsuit
                                                                 Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
                            06/15/2017
  Date debt was incurred ____________                                                        2 ___
                                                           Last 4 digits of account number ___  6 5___ 4___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                   723,113.40
                                                                                                                             $________________
                                                                                                                                                                     24
Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property
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                Robert  W. Vega                                             Pg 23 of 51
Debtor 1        _______________________________________________________                                Case number (if known)_____________________________________
                 First Name     Middle Name         Last Name




             Additional Page                                                                                        Column A               Column B              Column C
Part 1:                                                                                                             Amount of claim        Value of collateral   Unsecured
             After listing any entries on this page, number them beginning with 2.3, followed                                              that supports this    portion
                                                                                                                    Do not deduct the
             by 2.4, and so forth.                                                                                  value of collateral.   claim                 If any

   ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________           As of the date you file, the claim is: Check all that apply.
   ______________________________________               Contingent
   City                         State    ZIP Code       Unliquidated
                                                        Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
                                                        Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
                        06/15/2017
 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


   ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

                                                    As of the date you file, the claim is: Check all that apply.
   ______________________________________
                                                        Contingent
   ______________________________________               Unliquidated
   City                         State    ZIP Code
                                                        Disputed
 Who owes the debt? Check one.
                                                    Nature of lien. Check all that apply.
     Debtor 1 only
                                                        An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
     At least one of the debtors and another           Judgment lien from a lawsuit

     Check if this claim relates to a
                                                        Other (including a right to offset) ____________________
      community debt

 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


   ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________           As of the date you file, the claim is: Check all that apply.
   ______________________________________               Contingent
   City                         State    ZIP Code       Unliquidated
                                                        Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
                                                        Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

           Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
           If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                                       723,113.40
                                                                                                                    $_________________
           Write that number here:                                                                                                                          25
Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property
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             Robert  W. Vega                                           Pg 24 of 51
Debtor 1     _______________________________________________________                            Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

2.1 Shapiro DiCaro & Barak LLC                                                                                                                  2.1
                                                                                           On which line in Part 1 did you enter the creditor? _____
   _____________________________________________________________________
      Name                                                                                                                  0 3___
                                                                                           Last 4 digits of account number ___   5 ___
                                                                                                                                   9 ___
       175 Mile Crossing Boulevard
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

       Rochester                                NY                   14624
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                                                                                 26
Official Form 106D                         Part 2 of Schedule D: Creditors Who Have Claims Secured by Property
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  Fill in this information to identify your case:                                   Pg 25 of 51
      Debtor 1          Robert W. Vega
                        __________________________________________________________________
                          First Name                   Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                   Middle Name              Last Name


                                              Southern District
      United States Bankruptcy Court for the: __________        of of
                                                          District New  York
                                                                      __________

      Case number         ___________________________________________
                                                                                                                                                       Check if this is an
      (If known)                                                                                                                                          amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:               List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total claim   Priority        Nonpriority
                                                                                                                                                     amount          amount
2.1
            Atlantic Credit & Finance , Inc.
           ____________________________________________                                                 Judgment
                                                                       Last 4 digits of account number ___ ___ ___ ___              14,540.74 $___________
                                                                                                                                  $_____________ 14,540.74 $____________
           Priority Creditor’s Name

            3353 Orange Ave NE
           ____________________________________________                When was the debt incurred?          03/02/2010
                                                                                                            ____________
           Number            Street
           ____________________________________________
             Roanoke, VA 24012                                         As of the date you file, the claim is: Check all that apply.
           ____________________________________________
           City                                State    ZIP Code
                                                                          Contingent
                                                                          Unliquidated
           Who incurred the debt? Check one.
                                                                          Disputed
                 Debtor 1 only
                 Debtor 2 only                                        Type of PRIORITY unsecured claim:
                 Debtor 1 and Debtor 2 only
                                                                          Domestic support obligations
                 At least one of the debtors and another
                                                                          Taxes and certain other debts you owe the government
                 Check if this claim is for a community debt             Claims for death or personal injury while you were
           Is the claim subject to offset?                                 intoxicated
            No                                                        
                                                                       x                   Judgment in enforcement
                                                                           Other. Specify _________________________________
            Yes
2.2         FIA Card Services, N.A.
           ____________________________________________                                                 Judgment
                                                                       Last 4 digits of account number ___ ___ ___ ___                  11,000.67 $___________
                                                                                                                                      $_____________ 11,000.67 $____________
           Priority Creditor’s Name
                                                                       When was the debt incurred?           10/19/2009
                                                                                                            ____________
            1455 Market St.
           ____________________________________________
           Number            Street
           ____________________________________________                As of the date you file, the claim is: Check all that apply.
             San Francisco, CA 94103                                      Contingent
           ____________________________________________
           City                                State    ZIP Code          Unliquidated
           Who incurred the debt? Check one.                              Disputed
           
           x      Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                          Domestic support obligations
                 Debtor 1 and Debtor 2 only
                 At least one of the debtors and another
                                                                          Taxes and certain other debts you owe the government
                                                                          Claims for death or personal injury while you were
                 Check if this claim is for a community debt              intoxicated
           Is the claim subject to offset?                                                 Judgment in enforcement
                                                                           Other. Specify _________________________________
                 No
                 Yes
                                                                                                                                                                27
 Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims
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             18-22176-rdd
               Robert      W. Vega Doc 1 Filed 02/01/18 Entered 02/01/18
                _______________________________________________________
                                                                                   16:24:25 Main Document
                                                                              Case number (if known)_____________________________________
                First Name     Middle Name    Last Name           Pg 26 of 51
 Part 1:           Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                        Total claim   Priority        Nonpriority
                                                                                                                                             amount          amount


      ____________________________________________              Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
      Priority Creditor’s Name

      ____________________________________________              When was the debt incurred?          06/15/2017
                                                                                                     ____________        Revolving
      Number           Street

      ____________________________________________              As of the date you file, the claim is: Check all that apply.

      ____________________________________________
                                                                   Contingent
      City                                State   ZIP Code         Unliquidated
                                                                   Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                      Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                   Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                   Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                   Claims for death or personal injury while you were
            Check if this claim is for a community debt            intoxicated
                                                                   Other. Specify _________________________________

      Is the claim subject to offset?
            No
            Yes


      ____________________________________________              Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
      Priority Creditor’s Name

      ____________________________________________              When was the debt incurred?          ____________
      Number           Street

      ____________________________________________              As of the date you file, the claim is: Check all that apply.

      ____________________________________________
                                                                   Contingent
      City                                State   ZIP Code         Unliquidated
                                                                   Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                      Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                   Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                   Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                   Claims for death or personal injury while you were
            Check if this claim is for a community debt            intoxicated
                                                                   Other. Specify _________________________________

      Is the claim subject to offset?
            No
            Yes


      ____________________________________________              Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
      Priority Creditor’s Name

      ____________________________________________              When was the debt incurred?          ____________
      Number           Street

      ____________________________________________              As of the date you file, the claim is: Check all that apply.

      ____________________________________________
                                                                   Contingent
      City                                State   ZIP Code         Unliquidated
                                                                   Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                      Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                   Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                   Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                   Claims for death or personal injury while you were
            Check if this claim is for a community debt            intoxicated
                                                                   Other. Specify _________________________________

      Is the claim subject to offset?
            No
            Yes
                                                                                                                                                        28
Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims
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                                                                               Case number (if known)_____________________________________
                 First Name     Middle Name    Last Name           Pg 27 of 51
 Part 2:           List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.1
        Kohl's
       _____________________________________________________________                                               6 ___
                                                                                  Last 4 digits of account number ___ 9 7___2 ___
       Nonpriority Creditor’s Name
                                                                                                                                                               280.36
                                                                                                                                                          $__________________
                                                                                  When was the debt incurred?            revolving
                                                                                                                        ____________
        Po Box 2983
       _____________________________________________________________
       Number           Street

        Milwaukee, WI 53201-2983
       _____________________________________________________________
       City                                             State     ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated
             Debtor 1 only                                                          Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only                                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                                Student loans

             Check if this claim is for a community debt                            Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
             No                                                                                     consumer revolving
                                                                                      Other. Specify ______________________________________
             Yes

4.2     Military Star                                                                                              5 9___6___1 ___
                                                                                  Last 4 digits of account number ___                                        3,402.95
                                                                                                                                                          $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?            revolving
                                                                                                                        ____________
        P.O. Box 740890 -- The Exchange
       _____________________________________________________________
       Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        Cincinnati, OH 45274-0892
       _____________________________________________________________
       City                                             State     ZIP Code
                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated

             Debtor 1 only
                                                                                     Disputed

             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                                Student loans
                                                                                     Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                             that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts

             No                                                                  
                                                                                  x                   credit card
                                                                                      Other. Specify ______________________________________

             Yes

4.3    Wells Fargo Card Services                                                                                   7 6___9 ___
                                                                                  Last 4 digits of account number ___      0 ___
       _____________________________________________________________                                                                                          1,900.00
                                                                                                                                                          $_________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?            revolving
                                                                                                                        ____________
        P.O. Box 51193
       _____________________________________________________________
       Number           Street

       _____________________________________________________________
        Los Angeles, CA 90051-5493
       City                     State                             ZIP Code
                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                     Contingent
       Who incurred the debt? Check one.
                                                                                     Unliquidated
             Debtor 1 only
                                                                                     Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                                     Student loans
             Check if this claim is for a community debt                            Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
             No
                                                                                                      credit card
                                                                                      Other. Specify ______________________________________
             Yes

                                                                                                                                                              29
Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims
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               Robert      W. Vega Doc 1 Filed 02/01/18 Entered 02/01/18
                _______________________________________________________
                                                                                   16:24:25 Main Document
                                                                              Case number (if known)_____________________________________
                First Name     Middle Name    Last Name           Pg 28 of 51
 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim



                                                                                   Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________                                                                                         $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
            No
            Yes




                                                                                   Last 4 digits of account number ___ ___ ___ ___                          $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
            No
            Yes


                                                                                                                                                            $____________
                                                                                   Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
            No
            Yes



                                                                                                                                                           30
Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims
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                                                                              Case number (if known)_____________________________________
                First Name     Middle Name    Last Name           Pg 29 of 51
 Part 3:       List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
     additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      _____________________________________________________             On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                        Line _____ of (Check one):        Part 1: Creditors with Priority Unsecured Claims
      Number        Street                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
      _____________________________________________________
                                                                        Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________
      City                                  State        ZIP Code


      _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                         Line _____ of (Check one):       Part 1: Creditors with Priority Unsecured Claims
      Number        Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________              Claims

      _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
      City                                  State        ZIP Code


      _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                         Line _____ of (Check one):       Part 1: Creditors with Priority Unsecured Claims
      Number        Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                         Claims

      _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
      City                                  State        ZIP Code


      _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                         Line _____ of (Check one):       Part 1: Creditors with Priority Unsecured Claims
      Number        Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                         Claims

      _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
      City                                  State        ZIP Code


      _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                         Line _____ of (Check one):       Part 1: Creditors with Priority Unsecured Claims
      Number        Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                         Claims

      _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
      City                                  State        ZIP Code


      _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                         Line _____ of (Check one):       Part 1: Creditors with Priority Unsecured Claims
      Number        Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                         Claims

      _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
      City                                  State        ZIP Code


      _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________              Line _____ of (Check one):       Part 1: Creditors with Priority Unsecured Claims
      Number        Street
                                                                                                          Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________              Claims

      _____________________________________________________
      City                                  State        ZIP Code
                                                                         Last 4 digits of account number ___ ___ ___ ___

                                                                                                                                                 31
Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims
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           18-22176-rdd
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                                                                                 16:24:25 Main Document
                                                                            Case number (if known)_____________________________________
              First Name     Middle Name    Last Name           Pg 30 of 51
Part 4:     Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


               6a. Domestic support obligations                                6a.
Total claims                                                                           $_________________________
from Part 1
               6b. Taxes and certain other debts you owe the
                   government                                                  6b.     $_________________________

               6c. Claims for death or personal injury while you were
                   intoxicated                                                 6c.
                                                                                       $_________________________

               6d. Other. Add all other priority unsecured claims.
                   Write that amount here.                                     6d.        25,541.41
                                                                                     + $_________________________

               6e. Total. Add lines 6a through 6d.                             6e.
                                                                                          25,541.41
                                                                                       $_________________________



                                                                                       Total claim

               6f. Student loans                                               6f.
Total claims                                                                            $_________________________
from Part 2
               6g. Obligations arising out of a separation agreement
                   or divorce that you did not report as priority
                   claims                                                      6g.      $_________________________

               6h. Debts to pension or profit-sharing plans, and other
                   similar debts                                               6h.     $_________________________

               6i. Other. Add all other nonpriority unsecured claims.
                   Write that amount here.                                     6i.   + $_________________________
                                                                                            5,583.31


               6j. Total. Add lines 6f through 6i.                             6j.
                                                                                            31,124.72
                                                                                        $_________________________




                                                                                                                                    32
Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims
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                                                                           Pg 31 of 51
 Fill in this information to identify your case:

 Debtor               Robert W. Vega
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                          Southern District
 United States Bankruptcy Court for the: __________          of ________
                                                    District of New York

 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1    Mr. Fernando Mendez                                                                Residential lease for debtor's primary residence locate at
      _____________________________________________________________________
      Name                                                                                753 Mile Square Road, Yonkers, NY 10704
       23 Oriole Road
      _____________________________________________________________________
      Number     Street
       Yonkers, NY 10701
      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code
                                                                                                                                                    33
Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases
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              Robert  W. Vega                                    Pg 32 of 51
 Debtor 1      _______________________________________________________               Case number (if known)_____________________________________
               First Name   Middle Name       Last Name




              Additional Page if You Have More Contracts or Leases

        Person or company with whom you have the contract or lease                What the contract or lease is for

  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code

  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code

  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code

                                                                                                                                   34
Official Form 106G                        Schedule G: Executory Contracts and Unexpired Leases
            18-22176-rdd                     Doc 1         Filed 02/01/18            Entered 02/01/18 16:24:25            Main Document
                                                                                    Pg 33 of 51
 Fill in this information to identify your case:

 Debtor 1          Robert W. Vega
                   __________________________________________________________________
                     First Name                     Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                          Southern District
 United States Bankruptcy Court for the: __________          of ________
                                                    District of New York

 Case number         ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1       Ruth L. Vega
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
                                                                                                                               2.1
          408 Warburton Avenue
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
          Yonkers, NY 10701
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
           Kimberley Gonzalez
         ________________________________________________________________________________                                     2.2
                                                                                                           Schedule D, line ______
         Name
                                                                                                          Schedule E/F, line ______
           274 Hawthorne Avenue
         ________________________________________________________________________________
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
           Yonkers, NY 10701
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

                                                                                                                                                    35
Official Form 106H                                                           Schedule H: Your Codebtors
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 Debtor 1        Robert  W. Vega                                    Pg 34
                  _______________________________________________________
                                                                           of 51    Case number (if known)_____________________________________
                 First Name     Middle Name    Last Name




                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt

                                                                                               Check all schedules that apply:
 3._
        ________________________________________________________________________________
        Name
                                                                                                Schedule D, line ______
                                                                                               Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______
        ________________________________________________________________________________
        City                                        State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                Schedule D, line ______
                                                                                               Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______
        ________________________________________________________________________________
        City                                        State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                Schedule D, line ______
                                                                                               Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______
        ________________________________________________________________________________
        City                                        State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                Schedule D, line ______
                                                                                               Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______
        ________________________________________________________________________________
        City                                        State                   ZIP Code
 3._
        ________________________________________________________________________________
        Name
                                                                                                Schedule D, line ______
                                                                                               Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______
        ________________________________________________________________________________
        City                                        State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                Schedule D, line ______
                                                                                               Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______
        ________________________________________________________________________________
        City                                        State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                Schedule D, line ______
                                                                                               Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______
        ________________________________________________________________________________
        City                                        State                   ZIP Code
 3._
        ________________________________________________________________________________
        Name
                                                                                                Schedule D, line ______
                                                                                               Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______
        ________________________________________________________________________________
        City                                        State                   ZIP Code


                                                                                                                                    36
Official Form 106H                                          Schedule H: Your Codebtors
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 Fill in this information to identify your case:


 Debtor 1           Robert  W. Vega
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                          Southern District
 United States Bankruptcy Court for the: __________         ofofNew
                                                     District       York
                                                                 ___________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing postpetition chapter 13
                                                                                                       income as of the following date:
Official Form 106I                                                                                     ________________
                                                                                                       MM / DD / YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status             Employed                                        Employed
    employers.                                                         Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                  Program Supervisor
                                                                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name             Yonkers Residential Centers Inc.
                                                                     __________________________________          __________________________________


                                         Employer’s address          317 South Broadway
                                                                    _______________________________________    ________________________________________
                                                                      Number Street                             Number    Street

                                                                    _______________________________________    ________________________________________

                                                                    _______________________________________    ________________________________________

                                                                     Yonkers               NY     10705
                                                                    _______________________________________    ________________________________________
                                                                     City            State  ZIP Code             City                State ZIP Code

                                         How long employed there?        9_______
                                                                           years                                  _______
                                                                                                                  9 years

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                              For Debtor 1        For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.       3,522.50
                                                                                             $___________              $____________

 3. Estimate and list monthly overtime pay.                                            3.            0.00
                                                                                            + $___________       +     $____________


 4. Calculate gross income. Add line 2 + line 3.                                       4.       3,522.50
                                                                                             $__________               $____________



                                                                                                                                             37
Official Form 106I                                              Schedule I: Your Income
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                                                                                             Pg 36 of 51
Debtor 1         Robert  W. Vega
                  _______________________________________________________                                                   Case number (if known)_____________________________________
                 First Name         Middle Name                Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

   Copy line 4 here...............................................................................................  4.        3,522.50
                                                                                                                            $___________            $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                             5a.          659.00
                                                                                                                           $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                              5b.     $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                              5c.     $____________            $_____________
     5d. Required repayments of retirement fund loans                                                              5d.     $____________            $_____________
     5e. Insurance                                                                                                 5e.     $____________            $_____________
     5f. Domestic support obligations                                                                              5f.     $____________            $_____________

     5g. Union dues                                                                                                5g.     $____________            $_____________

     5h.   Other deductions. Specify: Garnishment
                                      __________________________________                                           5h.    + $____________
                                                                                                                                 316.00         +   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                     6.     $____________            $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                             7.           975.00
                                                                                                                           $____________            $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                           $____________            $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.     $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                           $____________            $_____________
           settlement, and property settlement.                                                                    8c.
     8d. Unemployment compensation                                                                                 8d.     $____________            $_____________
     8e. Social Security                                                                                           8e.     $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                  $____________            $_____________

     8g. Pension or retirement income                                                                              8g.         3,698.00
                                                                                                                           $____________            $_____________
                                         Disability
     8h. Other monthly income. Specify: _______________________________                                            8h.    + $____________
                                                                                                                                  919.64        + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                           9.         4,617.64
                                                                                                                           $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.                                                                             5,593.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.    $___________     +       $_____________     =   $_____________


11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
              Rental income from Warburton Property
    Specify: _______________________________________________________________________________                                                                     11.   +      3,000.00
                                                                                                                                                                           $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                              8,593.00
                                                                                                                                                                           $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                           12.
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:

                                                                                                                                                                            38
Official Form 106I                                                                  Schedule I: Your Income
              18-22176-rdd              Doc 1         Filed 02/01/18        Entered 02/01/18 16:24:25                        Main Document
                                                                           Pg 37 of 51
   Fill in this information to identify your case:

   Debtor 1          Robert W. Vega
                     __________________________________________________________________
                       First Name              Middle Name             Last Name                       Check if this is:
   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                        An amended filing
                                                                                                        A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Southern District
                                           __________        of of
                                                       District New  York
                                                                   __________                              expenses as of the following date:
                                                                                                           ________________
   Case number         ___________________________________________                                         MM / DD / YYYY
    (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                            12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

        No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                     No                                 Dependent’s relationship to              Dependent’s   Does dependent live
    Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
    Debtor 2.                                    each dependent ..........................
    Do not state the dependents’
                                                                                                                                               No
                                                                                    _________________________                ________
    names.                                                                                                                                     Yes

                                                                                    _________________________                ________          No
                                                                                                                                               Yes

                                                                                    _________________________                ________          No
                                                                                                                                               Yes

                                                                                    _________________________                ________          No
                                                                                                                                               Yes

                                                                                    _________________________                ________          No
                                                                                                                                               Yes

 3. Do your expenses include
    expenses of people other than
                                                No
    yourself and your dependents?               Yes


 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                          Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                    1,450.00
                                                                                                                               $_____________________
      any rent for the ground or lot.                                                                                  4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                         4a.     $_____________________
      4b.    Property, homeowner’s, or renter’s insurance                                                              4b.     $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                             4c.     $_____________________
      4d.    Homeowner’s association or condominium dues                                                               4d.     $_____________________

                                                                                                                                                 39
Official Form 106J                                             Schedule J: Your Expenses
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                                                                         Pg 38 of 51
 Debtor 1        Robert  W. Vega
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                       Your expenses

                                                                                                                      $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.                    459.00
                                                                                                                      $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.     $_____________________

 7. Food and housekeeping supplies                                                                            7.                     800.00
                                                                                                                      $_____________________

 8. Childcare and children’s education costs                                                                  8.      $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.                        175
                                                                                                                      $_____________________
10. Personal care products and services                                                                       10.                        75
                                                                                                                      $_____________________
11. Medical and dental expenses                                                                               11.                        25
                                                                                                                      $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     $_____________________
14.   Charitable contributions and religious donations                                                        14.                        75
                                                                                                                      $_____________________

15. Insurance.                                                                                                                                      1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    $_____________________
      15b. Health insurance                                                                                   15b.                   121.00
                                                                                                                      $_____________________
      15c. Vehicle insurance                                                                                  15c.                   100.00
                                                                                                                      $_____________________
                                    Disability
      15d. Other insurance. Specify:_______________________________________                                   15d.                    88.00
                                                                                                                      $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ________________________________________________________                                       16.     $_____________________

17. Installment or lease payments:
                                                                                                                                     642.00
                                                                                                                      $_____________________
                                                                                                                                                *
      17a. Car payments for Vehicle 1                                                                         17a.

      17b. Car payments for Vehicle 2                                                                         17b.    $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.    $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.    $_____________________
                                                                                                                        *pd. by daughter
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.
                                                                                                                      $_____________________

19. Other payments you make to support others who do not live with you.

      Specify:_______________________________________________________                                          19.    $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.                 4,745.00
                                                                                                                      $_____________________

      20b. Real estate taxes                                                                                  20b.    $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    $_____________________


                                                                                                                                         40
Official Form 106J                                             Schedule J: Your Expenses
             18-22176-rdd             Doc 1      Filed 02/01/18           Entered 02/01/18 16:24:25                      Main Document
                                                                         Pg 39 of 51
 Debtor 1        Robert  W. Vega
                 _______________________________________________________                        Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                           21.    +$_____________________

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                              22a.           8,755.00
                                                                                                                           $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.      $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.
                                                                                                                                 8,755.00
                                                                                                                           $_____________________



23. Calculate your monthly net income.
                                                                                                                                 8,593.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.           8,755.00
                                                                                                                          – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                -162.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
         Yes.     Explain here:




                                                                                                                                              41
Official Form 106J                                            Schedule J: Your Expenses
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                                                                          Pg 40 of 51
   Fill in this information to identify your case:                                                                Check as directed in lines 17 and 21:
                                                                                                                  According to the calculations required by
  Debtor 1           Robert W. Vega
                    __________________________________________________________________                            this Statement:
                      First Name             Middle Name              Last Name

  Debtor 2            ________________________________________________________________                               1. Disposable income is not determined
  (Spouse, if filing) First Name             Middle Name              Last Name                                          under 11 U.S.C. § 1325(b)(3).

                                           Southern District
  United States Bankruptcy Court for the: __________         ofofNew
                                                      District       York
                                                                  __________                                         2. Disposable income is determined
                                                                                                                         under 11 U.S.C. § 1325(b)(3).
  Case number         ___________________________________________
  (If known)                                                                                                         3. The commitment period is 3 years.
                                                                                                                     4. The commitment period is 5 years.


                                                                                                                  
                                                                                                                   Check if this is an amended filing



Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Part 1:          Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
       Not married. Fill out Column A, lines 2-11.
       Married. Fill out both Columns A and B, lines 2-11.

   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
   bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
   August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
   the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
   from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                       Column A            Column B
                                                                                                       Debtor 1            Debtor 2 or
                                                                                                                           non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
   payroll deductions).                                                                                  3,522.50
                                                                                                       $__________           $__________

3. Alimony and maintenance payments. Do not include payments from a spouse.                            $__________           $__________

4. All amounts from any source which are regularly paid for household expenses of
   you or your dependents, including child support. Include regular contributions from
   an unmarried partner, members of your household, your dependents, parents, and
   roommates. Do not include payments from a spouse. Do not include payments you
   listed on line 3.                                                                                   $_________            $__________

5. Net income from operating a business, profession, or
                                                                    Debtor 1      Debtor 2
   farm
   Gross receipts (before all deductions)                             $______         $______

   Ordinary and necessary operating expenses                      –   $______     –   $______
                                                                                                Copy
   Net monthly income from a business, profession, or farm
                                                                      $______         $______ here    $_________           $__________

6. Net income from rental and other real property                   Debtor 1      Debtor 2

   Gross receipts (before all deductions)                             $______         $______

   Ordinary and necessary operating expenses                      –   $______     –   $______
                                                                                                Copy
   Net monthly income from rental or other real property              $______         $______ here    $_________           $__________


                                                                                                                                                58
Official Form 122C-1               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period
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 Debtor 1             Robert W. Vega
                      _______________________________________________________                                        Pg 41 of 51   Case number (if known)_____________________________________
                      First Name               Middle Name                      Last Name



                                                                                                                                                              Column A                               Column B
                                                                                                                                                              Debtor 1                               Debtor 2 or
                                                                                                                                                                                                     non-filing spouse

7. Interest, dividends, and royalties                                                                                                                          $____________                             $__________

8. Unemployment compensation                                                                                                                                   $____________                             $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ....................................... 

        For you...................................................................................            $_____________
        For your spouse ...................................................................                   $_____________

9. Pension or retirement income. Do not include any amount received that was a                                                                                        3,698.00
     benefit under the Social Security Act.                                                                                                                    $____________                             $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism. If necessary, list other sources on a separate page and put the
     total below.
         Disability
        __________________________________________________________________
                                                                                                                                                                    919.64
                                                                                                                                                               $____________                            $___________
                                                                                                                                                               $____________                            $___________
        __________________________________________________________________

       Total amounts from separate pages, if any.                                                                                                         + $____________                           + $__________
11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                                           8,140.14
                                                                                                                                                               $____________                   +        $___________                  =     8,140.14
                                                                                                                                                                                                                                          $________
                                                                                                                                                                                                                                          Total average
                                                                                                                                                                                                                                          monthly income




Part 2:            Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11. ......................................................................................................................                                                           8,140.14
                                                                                                                                                                                                                                       $_____________
13. Calculate the marital adjustment. Check one:

         You are not married. Fill in 0 below.
         You are married and your spouse is filing with you. Fill in 0 below.
    
    X     You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
           you or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than
           you or your dependents.
          Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
          list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.
            __________________________________________________________________________                                                                             $___________
            __________________________________________________________________________                                                                             $___________

            __________________________________________________________________________                                                                         + $___________ 
          Total............................................................................................................................................        $___________
                                                                                                                                                                                                  Copy here                         ─____________

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                                             8,140.14
                                                                                                                                                                                                                                       $ __________


15. Calculate your current monthly income for the year. Follow these steps:

                                                                                                                                                                                                                                         8,140.14
                                                                                                                                                                                                                                      $ ____________
     15a. Copy line 14 here                ......................................................................................................................................................................................
            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                                 x 12
     15b. The result is your current monthly income for the year for this part of the form.  .................................................................................                                                          97,681.68
                                                                                                                                                                                                                                      $___________

                                                                                                                                                                                                                                          59
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16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                           NY
                                                                                                        _________

     16b. Fill in the number of people in your household.                                                1
                                                                                                        _________


     16c. Fill in the median family income for your state and size of household. ..............................................................................................                                             $79,585.00
                                                                                                                                                                                                                          $___________
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).

     17b. 
          X Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2).
                    On line 39 of that form, copy your current monthly income from line 14 above.


Part 3:               Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)


18. Copy your total average monthly income from line 11. ........................................................................................................................                                           8,140.14
                                                                                                                                                                                                                          $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
     the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a. ................................................................................................
                                                                                                                                                                                                                      ─   $__________

     19b. Subtract line 19a from line 18.                                                                                                                                                                                   8,140.14
                                                                                                                                                                                                                          $__________


20. Calculate your current monthly income for the year. Follow these steps:

     20a. Copy line 19b.. .........................................................................................................................................................................................         8,140.14
                                                                                                                                                                                                                          $___________

              Multiply by 12 (the number of months in a year).                                                                                                                                                        x 12
     20b. The result is your current monthly income for the year for this part of the form.                                                                                                                                 97,681.68
                                                                                                                                                                                                                          $___________


     20c. Copy the median family income for your state and size of household from line 16c. ...................................................................
                                                                                                                                                                                                                            $79,585.00
                                                                                                                                                                                                                          $___________

21. How do the lines compare?

          Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
           The commitment period is 3 years. Go to Part 4.
     
     X     Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 4, The commitment period is 5 years. Go to Part 4.


Part 4:             Sign Below


                    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

                     / s / Robert W. Vega /
                          ___________________________________________________                                                            ____________________________________
                          Signature of Debtor 1                                                                                                 Signature of Debtor 2


                              January 30, 2018
                         Date _________________                                                                                                Date _________________
                                  MM / DD         / YYYY                                                                                                MM / DD             / YYYY


                    If you checked 17a, do NOT fill out or file Form 122C–2.
                    If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.


                                                                                                                                                                                                                             60
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 Fill in this information to identify your case:

 Debtor 1           Robert W. Vega
                   __________________________________________________________________
                     First Name               Middle Name             Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name             Last Name


 United States Bankruptcy Court for the: ______________________     District of _________
                                         Southern District of New York
                                                                                  (State)
 Case number         ___________________________________________
 (If known)
                                                                                                                   Check if this is an amended filing


Official Form 122C–2
Chapter 13 Calculation of Your Disposable Income                                                                                                 04/16

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C–1).
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).



Part 1:           Calculate Your Deductions from Your Income



    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
    to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
    instructions for this form. This information may also be available at the bankruptcy clerk’s office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use
   some of your actual expenses if they are higher than the standards. Do not include any operating expenses that you
   subtracted from income in lines 5 and 6 of Form 122C–1, and do not deduct any amounts that you subtracted from your
   spouse’s income in line 13 of Form 122C–1.

   If your expenses differ from month to month, enter the average expense.

   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




      5.   The number of people used in determining your deductions from income
           Fill in the number of people who could be claimed as exemptions on your federal income tax
           return, plus the number of any additional dependents whom you support. This number may
           be different from the number of people in your household.                                                        1


      National
                                  You must use the IRS National Standards to answer the questions in lines 6-7.
      Standards



      6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for food, clothing, and other items.                                                    639.00
                                                                                                                                     $________



      7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for out-of-pocket health care. The number of people is split into two
           categories─people who are under 65 and people who are 65 or older─because older people have a higher IRS
           allowance for health care costs. If your actual expenses are higher than this IRS amount, you may deduct the
           additional amount on line 22.




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                First Name          Middle Name                 Last Name




            People who are under 65 years of age

             7a. Out-of-pocket health care allowance per person $______________

             7b. Number of people who are under 65                                           1
                                                                                         X ______
                                                                                                                        Copy
             7c. Subtotal. Multiply line 7a by line 7b.                                  $______________
                                                                                             49.00                                        49.00
                                                                                                                                       $___________
                                                                                                                        here

              People who are 65 years of age or older

             7d. Out-of-pocket health care allowance per person $______________

             7e. Number of people who are 65 or older                                    X ______

                                                                                                                                     + $__________
                                                                                                                        Copy
             7f. Subtotal. Multiply line 7d by line 7e.                                  $______________                here


       7g. Total. Add lines 7c and 7f. ......................................................................................................... $___________   Copy here .......
                                                                                                                                                                                         49.00
                                                                                                                                                                                     $________


     Local
                         You must use the IRS Local Standards to answer the questions in lines 8-15.
     Standards

    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:
     Housing and utilities – Insurance and operating expenses
     Housing and utilities – Mortgage or rent expenses

    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
    specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

    8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill
       in the dollar amount listed for your county for insurance and operating expenses.                                                                                             $________


    9. Housing and utilities – Mortgage or rent expenses:

             9a. Using the number of people you entered in line 5, fill in the dollar amount
                                                                                                                                          2,990.00
                                                                                                                                       $____________
                   listed for your county for mortgage or rent expenses.
             9b. Total average monthly payment for all mortgages and other debts secured by
                  your home.
                   To calculate the total average monthly payment, add all amounts that are
                   contractually due to each secured creditor in the 60 months after you file
                   for bankruptcy. Next divide by 60.

                         Name of the creditor                                                Average monthly
                                                                                             payment


                       _________________________________
                        Fernando Mendez                                                       $__________
                                                                                                1,450.00 rent
                       _________________________________                                      $__________
                       _________________________________
                                                                                         +    $__________

                                  9b. Total average monthly payment                              1,450.00
                                                                                              $__________
                                                                                                                        Copy
                                                                                                                                          1,450.00 Repeat this amount
                                                                                                                                     ─ $____________
                                                                                                                        here                        on line 33a.

            9c. Net mortgage or rent expense.
                  Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                               1,540.00 Copy here ........
                                                                                                                                       $____________                                 $________
                                                                                                                                                                                       1,540.00
                  rent expense). If this number is less than $0, enter $0.

   10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects
                                                                                                                                                                                     $________
       the calculation of your monthly expenses, fill in any additional amount you claim.
             Explain            _______________________________________________________________
             why:
                                _______________________________________________________________


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                  Robert W. Vega                                   Pg 45 of 51
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                 First Name     Middle Name          Last Name



   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

               0. Go to line 14.
              1. Go to line 12.
              2 or more. Go to line 12.

   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
       expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                       598.00
                                                                                                                                                    $_______


   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for
       each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In
       addition, you may not claim the expense for more than two vehicles.


            Vehicle 1          Describe Vehicle 1:     _________________________________________________________________
                                                       _________________________________________________________________


       13a. Ownership or leasing costs using IRS Local Standard ......................................      $____________

       13b. Average monthly payment for all debts secured by Vehicle 1.
               Do not include costs for leased vehicles.
               To calculate the average monthly payment here and on line 13e,
               add all amounts that are contractually due to each secured
               creditor in the 60 months after you file for bankruptcy. Then divide
               by 60.

                 Name of each creditor for Vehicle 1               Average monthly
                                                                   payment

                _________________________________                     $__________
                _________________________________                 +   $__________
                                                                                            Copy                              Repeat this amount
                              Total average monthly payment                                               ─ $___________
                                                                      $__________           here                             on line 33b.

       13c. Net Vehicle 1 ownership or lease expense                                                                           Copy net Vehicle
               Subtract line 13b from line 13a. If this number is less than $0, enter $0. .............     $___________       1 expense here      $_______


            Vehicle 2          Describe Vehicle 2:     _________________________________________________________________
                                                       _________________________________________________________________


       13d. Ownership or leasing costs using IRS Local Standard ...................................         970.00
                                                                                                          $___________

       13e. Average monthly payment for all debts secured by Vehicle 2.
                Do not include costs for leased vehicles.

                 Name of each creditor for Vehicle 2               Average monthly
                                                                   payment
                _________________________________                     $__________
                _________________________________                 +   $__________
                                                                                             Copy                             Repeat this amount
                              Total average monthly payment
                                                                                             here
                                                                                                          ─ $___________      on line 33c.
                                                                      $__________

           13f. Net Vehicle 2 ownership or lease expense                                                                       Copy net Vehicle
                                                                                                            $__________        2 expense here       $_______
               Subtract line 13e from 13d. If this number is less than $0, enter $0. .................
                                                                                                                               

   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
       Transportation expense allowance regardless of whether you use public transportation.                                                        $_______


   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.                                                                                  $_______


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     Other Necessary                In addition to the expense deductions listed above, you are allowed your monthly expenses for the
     Expenses                       following IRS categories.

   16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes,
       self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld
       from your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected                                                              $_______
                                                                                                                                                                                  153.00
       refund by 12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.
                                                                                                                                                                                  294.00
                                                                                                                                                                                $_______

   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse’s term life insurance.
       Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of
       life insurance other than term.                                                                                                                                          $_______

   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.                                                                                                                       $_______
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or                                                                                                                                        $_______
        for your physically or mentally challenged dependent child if no public education is available for similar services.

   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                                                                $_______
   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
       required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
       savings account. Include only the amount that is more than the total entered in line 7.
                                                                                                                                                                                $_______
       Payments for health insurance or health savings accounts should be listed only in line 25.

   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services
       for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
       phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
       income, if it is not reimbursed by your employer.                                                                                                                   +    $________
       Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Form 122C-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                                                          3,273.00
                                                                                                                                                                                $________
       Add lines 6 through 23.

     Additional Expense                   These are additional deductions allowed by the Means Test.
     Deductions                           Note: Do not include any expense allowances listed in lines 6-24.

   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
       your dependents.
           Health insurance                                           82.00
                                                                  $__________

           Disability insurance                                   $__________
           Health savings account                            + $__________
           Total
                                                                   82.00
                                                               $__________                                                                                                        82.00
                                                                                  Copy total here ..........................................................................   $________

           Do you actually spend this total amount?
             No. How much do you actually spend?
                                                                  $__________
             Yes

   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may                                                             $_______
       include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
           you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
                                                                                                                                                                                $_______
       By law, the court must keep the nature of these expenses confidential.


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                   First Name         Middle Name               Last Name




    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8,
       then fill in the excess amount of home energy costs.                                                                                                              $_______
       You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
       claimed is reasonable and necessary.

    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more
                                                                                                                                                                         $_______
           than $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a
           private or public elementary or secondary school.
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount
       claimed is reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.


    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
                                                                                                                                                                         $_______
           higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
           than 5% of the food and clothing allowances in the IRS National Standards.
           To find a chart showing the maximum additional allowance, go online using the link specified in the separate
           instructions for this form. This chart may also be available at the bankruptcy clerk’s office.
           You must show that the additional amount claimed is reasonable and necessary.

    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
           instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).                                                                       + $________
                                                                                                                                                                            70.00
           Do not include any amount more than 15% of your gross monthly income.

    32. Add all of the additional expense deductions.                                                                                                                   $_________
                                                                                                                                                                           152.00
           Add lines 25 through 31.


     Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
           loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due
       to each secured creditor in the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                        Average monthly
                                                                                                                                        payment
            Mortgages on your home                                                                       
            33a. Copy line 9b here.................................................................................................    $___________
           
            Loans on your first two vehicles                                                             
            33b. Copy line 13b here. .............................................................................................     $___________
      
            33c. Copy line 13e here. .............................................................................................     $___________

            33d. List other secured debts:

                                                                                                                   
                    Name of each creditor for other                              Identify property that           Does
                    secured debt                                                 secures the debt                 payment
                                                                                                                  include taxes
                                                                                                                  or insurance?

                                                                                                                   
                                                                                                                    No
                                                                                                                           $___________
                     ___________________________________ ________________________                                  
                                                                                                                    Yes
                                                                                                                   
                                                                                                                    No
                                                                                                                           $___________
                     ___________________________________ ________________________                                  
                                                                                                                    Yes
                                                                                                                   
                                                                                                                    No
                                                                                                                         + $___________
                     ___________________________________ ________________________                                  
                                                                                                                    Yes
                                                                                                                                                          Copy total
                                                                                                                           
            33e. Total average monthly payment. Add lines 33a through 33d. ................................................$___________
                                                                                                                                                          here
                                                                                                                                                                         $_______


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   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary
       for your support or the support of your dependents?


           No. Go to line 35.
           Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
                 possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

                         Name of the creditor                         Identify property that                Total cure                                 Monthly cure amount
                                                                      secures the debt                      amount


                      _________________________                       __________________                    $__________              ÷ 60 =            $___________


                      _________________________                       __________________                    $__________              ÷ 60 =            $___________


                      _________________________                       __________________                    $__________              ÷ 60 = + $___________
                                                                                                                                                                                         Copy
                                                                                                                                    Total              $___________                      total    $_______
                                                                                                                                                                                         here


   35. Do you owe any priority claimssuch as a priority tax, child support, or alimony that are past due as of
       the filing date of your bankruptcy case? 11 U.S.C. § 507.
           No. Go to line 36.
           Yes. Fill in the total amount of all of these priority claims. Do not include current or
                 ongoing priority claims, such as those you listed in line 19.

                                                                                                                                                                                         ÷ 60
                                                                                                                                                          Wounded Warriors & St. Judes

                      Total amount of all past-due priority claims. ......................................................................... $______________
                                                                                                                                               for Children, Disabled Veterans
                                                                                                                                               of America                                         $_______
                                                                                                                                                                                         =
   36. Projected monthly Chapter 13 plan payment                                                                                                       $______________
                                                                                                                                                          T/B/D
       Current multiplier for your district as stated on the list issued by the Administrative
       Office of the United States Courts (for districts in Alabama and North Carolina) or by
       the Executive Office for United States Trustees (for all other districts).
                                                                                                                                                   x ______
       To find a list of district multipliers that includes your district, go online using the link
       specified in the separate instructions for this form. This list may also be available at the
       bankruptcy clerk’s office.
                                                                                                                                                                                         Copy
       Average monthly administrative expense                                                                                                          $______________                   total    $_______
                                                                                                                                                                                         here


   37. Add all of the deductions for debt payment. Add lines 33e through 36.
                                                                                                                                                                                                  $_______




     Total Deductions from Income

   38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS expense allowances ..................................... $______________

      Copy line 32, All of the additional expense deductions ......................................................................... $______________

      Copy line 37, All of the deductions for debt payment ............................................................................+ $______________
                                                                                                                                                                                         Copy
      Total deductions ............................................................................................................................................. $______________     total    $_______
                                                                                                                                                                                         here 




Official Form 122C─2                                                 Chapter 13 Calculation of Your Disposable Income                                                                                        page 6
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Debtor 1            Robert W. Vega                                   Pg 49
                   _______________________________________________________
                                                                                                     of 51    Case number (if known)_____________________________________
                   First Name         Middle Name               Last Name


Part 2:            Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13                                                                                             $_______
     Statement of Your Current Monthly Income and Calculation of Commitment Period.......................................................................

40. Fill in any reasonably necessary income you receive for support for dependent
     children. The monthly average of any child support payments, foster care payments, or
     disability payments for a dependent child, reported in Part I of Form 122C-1, that you                                                  8,140.14
                                                                                                                                           $____________
     received in accordance with applicable nonbankruptcy law to the extent reasonably
     necessary to be expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
     employer withheld from wages as contributions for qualified retirement plans, as
                                                                                                                                           $____________
     specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement
     plans, as specified in 11 U.S.C. § 362(b)(19).


42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here ............  $____________


43. Deduction for special circumstances. If special circumstances justify additional
     expenses and you have no reasonable alternative, describe the special circumstances
     and their expenses. You must give your case trustee a detailed explanation of the
     special circumstances and documentation for the expenses.

      Describe the special circumstances                                                   Amount of expense

       ______________________________________________________                                 $___________

       ______________________________________________________
                                                                                              $___________
       ______________________________________________________                              + $___________
                                                                                                                       Copy here
                                                                            Total             $___________                          + $_____________

                                                                                                                                           $____________
44. Total adjustments. Add lines 40 through 43........................................................................................                    Copy here      –   $______



45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.
                                                                                                                                                                                4,215.00
                                                                                                                                                                               $_______




Part 3:             Change in Income or Expenses


46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have changed
     or are virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be
     open, fill in the information below. For example, if the wages reported increased after you filed your petition, check
     122C-1 in the first column, enter line 2 in the second column, explain why the wages increased, fill in when the increase
     occurred, and fill in the amount of the increase.

      Form                 Line       Reason for change                                         Date of change              Increase or          Amount of change
                                                                                                                            decrease?

      122C─1             ____         _______________________________                          ____________
                                                                                                                             Increase          $____________
     122C─2                                                                                                                Decrease
      122C─1             ____         _______________________________                          ____________
                                                                                                                             Increase          $____________
     122C─2                                                                                                                Decrease
      122C─1             ____         _______________________________                          ____________
                                                                                                                             Increase          $____________
     122C─2                                                                                                                Decrease

      122C─1             ____         _______________________________                          ____________
                                                                                                                             Increase          $____________
     122C─2                                                                                                                Decrease


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Debtor 1        Robert W. Vega                                   Pg  50 of 51
               _______________________________________________________          Case number (if known)_____________________________________
               First Name            Middle Name    Last Name



Part 4:         Sign Below




By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.



     / s / Robert W. Vega /
    ___________________________________________________                  __________________________________
    Signature of Debtor 1                                                    Signature of Debtor 2


    Date January  30, 2018
         _________________                                                   Date _________________
           MM / DD          / YYYY                                                MM / DD      / YYYY




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